
720 S.E.2d 673 (2012)
DELHAIZE AMERICA, INC.
v.
HOYLE.
No. 330P11-1.
Supreme Court of North Carolina.
January 26, 2012.
James G. Exum, Jr., Greensboro, for Delhaize America, Inc.
Kay Linn Hobart, Special Deputy Attorney General, for Hoyle, David.
Reid L. Phillips, Greensboro, for Delhaize America, Inc.
Richard L. Wyatt, Jr., for Delhaize America, Inc.
Jasper Cummings, Jr., Durham, for Council on State Taxation.
*674 Andrew Ellen, Raleigh, for North Carolina Retail Merchants, et al.
William G. Scoggin, Raleigh, for North Carolina Retail Merchants Association, et al.
The following order has been entered on the motion filed on the 16th of August 2011 by Defendant to Strike:
"Motion Dismissed as Moot by order of the Court in conference, this the 26th of January 2012."
